        Case 3:11-cr-03136-JAH                        Document 74            Filed 06/26/14               PageID.253   Page 1 of 2



    ~o 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations

               Sheet 1




                                            UNITED STATES DISTRICT C
                                                                                                                                                  /
                                                                                                                                                 /1
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                                            II
                                                                                                                                           f:'




                   UNITED STATES OF AMERICA                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                                       V.                                     (For Revocation of Probation or Supervised Release)
                      Wilmer Alberto Picasso -I                               (For Offenses Committed On or After November I, 1987)


                                                                              Case Number: II-cr-03136-JAH-I

                                                                              Kristin Kraus, FD
                                                                              Defendant's Attorney
    REGISTRATION No. 26863298
o   THE DEFENDANT:
    @admittedguilttoviolationofallegation(s) No.,_O.::;.;.;n.:;e.:.-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Allegation Number                   Nature of Violation
                             Unlawful use of controlled substance (nv3)




       Supervised Release          is revoked and the defendant is sentenced as provided in pages 2 through       2    of this judgment.
     -~~---~~--~-
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                               June 20, 2014
                                                                              Date of Imposition of Sentence




                                                                                 NITED STATES DISTRICT JUDGE




                                                                                                                        II-cr-03136-JAH-1
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AO 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment
                                                                                                    Judgment   Page _ _2_ of         2
 DEFENDANT: Wilmer Alberto Picasso -I
 CASE NUMBER: II-cr-03136-JAH-I
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Twelve months.




     !81 The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends custody be served in the Western Region.




     D The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D at                                       Da.m.             Dp.m.    on
                 as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before
                    ----------------------------------------------------
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                          to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                                 By
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                           II-cr-03136-JAH-I
